Case 0:23-cv-60345-JB Document 467-5 Entered on FLSD Docket 12/02/2024 Page 1 of 5


   1                     UNITED STATES DISTRICT COURT
   2                               for the
   3                     Southern District of Florida
   4       ________________________________________________________
   5          HEAD KANDY, LLC,                     ) Civil Action
                                                   ) No.
   6                                               ) 23-CV-60345-
                                Plaintiff,         ) JB
   7                                               )
                       vs.                         )
   8                                               )
                                                   )
   9          KAYLA MARIE MCNEILL,                 )
                                                   )
 10                                                )
                                Defendant.         )
 11                                                )
           ________________________________________________________
 12
 13
 14
                             WITHOUT CONFIDENTIAL PORTION
 15
                     VIDEOTAPED DEPOSITION OF MINDY MCDERMAID
 16
                                 SALT LAKE CITY, UTAH
 17
                              THURSDAY, JUNE 27, 2024
 18
 19
 20
 21
 22
 23
           REPORTED BY:     Tammy M. Breed, CCR No. 7801
 24
           JOB NO:    CO 6777490
 25

                                                                     Page 1

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                                    EXHIBIT 5
Case 0:23-cv-60345-JB Document 467-5 Entered on FLSD Docket 12/02/2024 Page 2 of 5


   1               VIDEOTAPED DEPOSITION OF MINDY MCDERMAID, taken
   2       at 299 SOUTH MAIN STREET, SALT LAKE CITY, UTAH, on
   3       THURSDAY, JUNE 27, 2024, at 9:04 A.M., before Tammy M.
   4       Breed, Certified Court Reporter, in and for the State of
   5       Utah.
   6
   7       APPEARANCES:
   8       For the Plaintiff:
   9               Carson A. Sadro, Esq.
                   BARTLETT LOEB HINDS THOMPSON & ANGELOS
 10                1001 Water Street
                   Suite 475
 11                Tampa, Florida 33602
 12
 13        For the Defendant:
 14                Antonio L. Converse, Esq.
                   CONVERSE LAW GROUP PC
 15                600 17th Street
                   Suite 2800
 16                South Denver, Colorado 80202
                   (303) 228-9471
 17                anthony@converselawgroup.com
 18
 19        Also Present:
 20                McKayla Largin, Videographer
 21
 22
 23
 24
 25

                                                                     Page 2

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Case 0:23-cv-60345-JB Document 467-5 Entered on FLSD Docket 12/02/2024 Page 3 of 5


   1                                 I    N    D   E    X

   2       WITNESS:     MINDY MCDERMAID

   3       EXAMINATION                                                PAGE

   4          BY:     Mr. Converse                                   6, 247

   5          BY:     Ms. Sadro                                     241, 250

   6

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 10

 11                               CONFIDENTIAL PORTION

 12        Pages 211 to 215

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                                                                     Page 3

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Case 0:23-cv-60345-JB Document 467-5 Entered on FLSD Docket 12/02/2024 Page 4 of 5


   1                             E    X   H    I    B    I   T   S
   2       EXHIBIT                                                         PAGE
   3        Exhibit 1       Declaration of Mindy McDermaid,                    5
                            17 pages
   4
            Exhibit 2       Declaration of Mindy McDermaid,                    5
   5                        17 pages
   6        Exhibit 3       CONFIDENTIAL INFORMATION -                        213
                            SUBJECT TO COURT ORDER, Marked
   7                        PLTF EXHIBIT 164, 15 pages
   8        Exhibit 4       Declaration of Mindy McDermaid,                   218
                            "Exhibit D" at the bottom,
   9                        9 pages
 10         Exhibit 5       Subpoena To Testify At A                          238
                            Deposition In A Civil Action
 11
            Exhibit 6       Mindy Mcdermaid's Objections and                  239
 12                         Responses to Subpoena for
                            Deposition
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25

                                                                     Page 4

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Case 0:23-cv-60345-JB Document 467-5 Entered on FLSD Docket 12/02/2024 Page 5 of 5


   1          to followers of the Kandy Life with Kayla page?

   2             A.   Correct.

   3             Q.   So the first category of actions you said had to

   4          do with a new company that Ms. McNeill was starting; is

   5          that correct?

   6             A.   Yes.

   7             Q.   How did you learn about those actions?

   8             A.   I saw it on social media.         She also told me about

   9          it herself, that she was going to start a new company.

  10          But it was -- she posted about it on social media.

  11             Q.   When did you see the posts?

  12             A.   I think that the posts started around November of

  13          2022.

  14             Q.   Okay.   Do you know when they ended?

  15             A.   They ended sometime in December.

  16             Q.   Did you see them when they first began in

  17          November of '22?

  18             A.   Yes.

  19             Q.   What did you do when you saw them?

  20             A.   I screenshotted them.

  21             Q.   Why did you screenshot them?

  22             A.   Because it doesn't -- it just didn't sit right

  23          with me that she was promoting a new brand on a current

  24          brand's website -- or Facebook page, excuse me.

  25             Q.   Did you take any other actions after you saw her

                                                                     Page 115

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